                 Case 1:21-cv-00043-N/A Document 1                   Filed 01/29/21          Page 1 of 3

                                                                                                 Form 1-1
UNITED STATES COURT OF INTERNATIONAL TRADE                                                    FORM 1

ArcelorMittal Long Products Canada G.P.

                            Plaintiff,

            v.                                                                     SUMMONS

UNITED STATES,                                                                     21-cv-43

                            Defendant.


TO:         The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C.
§ 1581(a) to contest denial of the protest specified below (and the protests listed in the attached
schedule).




                                                                 /s/ Mario Toscano
                                                                     Clerk of the Court

                                                      PROTEST
Port of
                                                             Date Protest Filed: April 23, 2020
Entry:           Detroit (3801)
Protest                                                      Date Protest
Number:          3801-20-102740                              Denied:           October 8, 2020
Importer:        ArcelorMittal Long Products Canada G.P.

Category of
Merchandise:      Steel Products

                                   ENTRIES INVOLVED IN ABOVE PROTEST
     Entry                  Date of         Date of                Entry                Date of        Date of
    Number                  Entry         Liquidation             Number                Entry        Liquidation
 9RK-27091156              12/19/2018       11/15/2019

                                         Please see attached continuation sheet.
                                                Continued on Form 1-3.



Port Director,                                                              William R. Rucker
U.S. Customs and Border Protection                                          Faegre Drinker Biddle & Reath
Port of Detroit                                                             191 N. Wacker Drive, Suite 3700
2810 B West Fort Street Suite #123                                          Chicago, IL 60606
Detroit, MI 48216                                                           (312) 569-1157
             Case 1:21-cv-00043-N/A Document 1                              Filed 01/29/21            Page 2 of 3

                                                                                                                Form 1-2
                               CONTESTED ADMINISTRATIVE DECISION


                                          Appraised Value of Merchandise

                                              Statutory Basis                                   Statement of Value

Appraised:



Protest Claim:


                                           Classification, Rate or Amount
                                                Assessed                                            Protest Claim
    Merchandise             Paragraph or                                            Paragraph or
                            Item Number                         Rate                Item Number                           Rate

                                                                 0%                                                       0%
                               7213.91.3015                                           7213.91.3015
   Steel products                                       With 25% Section                                        Excluded from
                               7227.90.6010                                           7227.90.6010             Section 232 duties
                                                           232 duties

                                                              Other
Sta te Sp e ci f ic al l y t he D eci sio n [ a s D e scr ib ed i n 1 9 U. S. C.§ 1 5 1 4 ( a) ] a n d t he P r o t e st C lai m:
Liquidation with assessment of Section 232 tariffs – the subject products are excluded from Section 232 tariffs.


The issue which was common to all such denied protests: E xc l u sio n fr o m S ec tio n 2 3 2 tar i f f s.



Every denied protest included in this civil action was filed by the above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise
included in every such denied protest. The issue or issues stated above were common to all such denied protests. All
such protests were filed and denied as prescribed by law. All liquidation duties, charges or exactions have been paid,
and were paid at the port of entry unless otherwise shown.

                                                                       __________/s/ William R. Rucker ____________
                                                                                      Signature of Plaintiff's Attorney




                                                                                         January 29, 2021
                                                                                               Date
            Case 1:21-cv-00043-N/A Document 1                 Filed 01/29/21   Page 3 of 3

                                                                                      Form 1-3
                                      SCHEDULE OF PROTESTS



                                          Port Huron (3802)
                                              Port of Entry


    Protest          Date Protest    Date Protest        Entry            Date of          Date of
   Number                Filed          Denied          Number             Entry         Liquidation
3802-20-101137        03/19/2020      10/14/2020      9RK-27089440       12/19/2018      11/15/2019




District Director of Customs,                        If the port of entry shown
U.S. Customs and Border Protection                   above is different from the
Port of Port Huron
                                                     port of entry shown on the
                                                     first page of the summons,
526 Water Street - Room 301                          the address of the District
Port Huron, MI 48060                                 Director for such different
                                                     port of entry must be given
                                                     in the space provided.
